Case 2:O4-cr-20460-STA Document 23 Filed 08/19/05 Page 1 of 2 Page|D 26

UNITED sTATEs nlsTRICT CoUR'r

FOR THE FH£D B,, g
WESTERN DISTRICT oF TENNESSEE D-f`-
4non»nnnnw»+++u¢nun+¢nu»n+n++uun+p§AUG 19 PH h,a?

UNITED sTATEs oF AMERICA C¢EH}HJ§._T 449 it GQU
\ .

CR. No. 04 20460 mean ’7

 

VS.

CHRISTOPHER M. WALDEN,
APPLICATION. ORDER and WRIT FOR HABEAS CORPUS AD PROSEOUEND UM
The United States Attorney’s Office applies to the Court for a Writ to have Christopher M.
Walden, No. 26-269, C2 5548, now being detained in the Hinds County Penal Fann, 1450 County Farm
Road, Raymond, Mississippi, appear before the Honorable Ju dge J. Daniel Breen, on Wednesday,
August 29, 2005, at 9:30 a.m., for a Report Date and for such other appearances as this Court may
direct.
Respectfully submitted, this 19th day of August, 2005.
I/L/’/
TIMOTHY R. DiSCENZA
Assistant U. S. Attorney
000000....000.§....0§.§..§....§0§.0.§....0§.§§0...¢0§..¢.0
Upon consideration of the foregoing Application, David Jolley, U.S. Marshal, Western District
ofTennessee, Memphis, TN, SheriffN\/'arden, Hinds County Penal Farm, Raymond, Mississippi.

YOU ARE HEREBY COMMANDED to have Ch ristopher M. Walden, No. 1 81 628, appear

before the Honorable Judge J. Daniel Breen at the date and time aforementioned

“CFAM

UNITED STATES MAGISTRATE JUDGE

ENTERED this 19th day OrAugusr, 2005.

This document entered on the docl<et§'ne in acompliance §§

with sum 55 and/ur 3203 }FHCrP on ' 05

DISTRIC COURT - WESTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:04-CR-20460 Was distributed by faX, mail, or direct printing on
August 22, 2005 to the parties listed.

 

 

April Rose Goode

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Tirnothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

